         Case 1:19-cr-00696-PAE Document 220 Filed 05/05/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


    UNITED STATES OF AMERICA,

                        -v-                                            19-CR-696 (PAE)

    ARI TEMAN,                                                              ORDER

                                Defendant.


PAUL A. ENGELMAYER, District Judge:

        In light of new defense counsel’s recent filing putting at issue, inter alia, whether Bank

of America will be entitled to restitution, Dkt. 218, the Court, in an excess of caution, notifies

counsel of the following. The Court does not have a financial holding in Bank of America.

However, as reflected in the Court’s annual financial disclosure reports, the Court’s family owns

stock in Berkshire Hathaway, Inc., which is a beneficial owner of more than 10% of Bank of

America’s outstanding common stock.

        The Court’s considered judgment is that this circumstance—in which the Court may be

called upon to resolve Bank of America’s entitlement to restitution—is not one in which this

judge’s “impartiality might reasonably be questioned,” so as to require recusal. See 28 U.S.C.

§ 455(a); United States v. Ravitch, 421 F.2d 1196, 1205 (2d Cir. 1970).1 However, to the extent

that any party takes a different view, counsel are at liberty to so advocate.

        SO ORDERED.




1
  Nor does the Court have a financial interest in a party to this criminal proceeding within the
meaning of 28 U.S.C. § 455(b)(4). See Ravitch, 421 F.2d at 1205 (“This was not an action by
the Franklin National Bank but a criminal prosecution by the United States.”).
       Case 1:19-cr-00696-PAE Document 220 Filed 05/05/21 Page 2 of 2




                                             PaJA.�
                                         __________________________________
                                               PAUL A. ENGELMAYER
                                               United States District Judge
Dated: May 5, 2021
       New York, New York




                                     2
